                       EXHIBIT A




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(650) 320-1870
andrearoberts@paulhastings.com

September 25, 2024

VIA EMAIL

 Jacob R. Dean
 deanj@gtlaw.com
 Greenberg Traurig, LLP
 3333 Piedmont Road NE, Suite 2500
 Atlanta, GA 30305


Re:    September 16, 2024 Court Order (ECF 204)


Counsel,

We write to confirm Allergan’s compliance with the Court’s September 16, 2024, Order, ECF
204, and clarify Revance’s position on its Category 3 documents. Please provide Revance’s
position by noon ET on Friday, September 27.

With respect to RFP 5, Allergan has already produced employee confidentiality agreements for
most of the time since January 1, 2010. (See e.g. AGN-MDTENN_0000371, AGN-
MDTENN_1751376). To the extent that there are years in that time frame not already covered
by what was produced, we will produce the employee confidentiality agreements for those years.

With respect to RFP 23, the Court agreed that ESI search term practice is the best way to respond
to this RFP and, “[o]nce [the parties’ ESI protocol] has been finalized, Allergan must search the
file name terms across the agreed-upon custodians and produce any non-privileged documents
containing instances of Allergan disclosing its claimed trade secrets to third parties without a
confidentiality agreement since January 1, 2010.” We are preparing the list of search terms and
proposed custodians in accordance with this portion of the Court’s Order, and we will provide it
to Revance shortly.

With respect to RFPs 29, 30, and 32, Allergan already produced personnel files of the former
Allergan employees listed in Appendix I, to the extent that they are still maintained in the
ordinary course of business and were located in a reasonably diligent search, which would
include the other documents covered by these requests. (See e.g., AGN_MDTENN_0000001-
134). We are confirming whether there is anything that we need to supplement and will do so if
needed.



                                                        Paul Hastings LLP | 2050 M Street NW | Washington D.C.
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Allergan also already produced documents responsive to RFPs 33-36. Documents responsive to
these requests were included in, at least, production volume 20.

With respect to the Category 3 documents addressed in the Order (Revance’s RFP Nos. 45, 46,
47, 48, 49, 50, 51, and 54), Allergan has already produced responsive documents. Specifically,
Allergan has produced business-planning documents, including long-range planning (LRP)
presentations, business reviews, growth analyses, and target populations that it was able to locate
after a reasonably diligent search. Such documents include discussion of the commercial
landscape for Botox and Juvéderm, sales volume in units, revenue, forecasts, other players in the
space, and other such information. To the extent that Allergan analyzed Revance, Daxxify,
and/or the RHA Collection as part of these business-planning documents, such analyses are
reflected therein. Such documents are in volumes 15, 19, and 24 of Allergan’s production.
These production volumes include non-custodial data, as well as data from Jamie Gonzalez,
Stacy Klingenberg, and Jason Paik. Further, Allergan has completed its production for RFP Nos.
50, 51, and 54 (ALGN-MDTENN_1813485, ALGN-MDTENN_1813486, ALGN-
MDTENN_1813498, ALGN-MDTENN_1813499).

As you know, Allergan has also agreed to ESI search parameters that we understand to be
directed at documents that would be responsive to these requests. Specifically, Allergan agreed
to run and is running the following search terms:

           •   (Revance OR RVNC) w/50 (market OR compet* OR sale*) – January 1, 2018-
               present
           •   (Daxxify OR DAX* or daxibotulinumtoxinA) w/50 (market OR compet* OR
               sale*) - January 1, 2018-present
           •   (“botulinum toxin” OR BoNT) w/50 (market OR compet* OR sale*) - January 1,
               2018- present
           •   (RHA* OR “RHA Collection”) w/50 (market OR compet* OR sale) - January 1,
               2018- present
           •   (RT002 OR RT-002) w/50 (market OR compet* OR sale*) - January 1, 2018-
               present

Allergan is running these search terms on the custodial ESI of: Alexis Jammo, Wendy Shepherd,
Auburn Nikolos, Stephanie Attoian, Robert Jones, Debbie Thompson, Jennifer Aggabao, Conor
Gallagher, Ken Clarke, Cara Chastain, Sarah Fraboni, Katie Barnhart, Roger Huff, Mirabelle
Pao, Jill Carey, Kimberly Cozzo, Hui Xiang, Derek Chan, Carissa Nava, Jill Clark, and Stewart
Draper. Allergan is also running similar terms for Mitchell Brin, Chad Lindemann, and Inaja
Amorim, but with smaller proximity limiters. See A. Roberts 8/16/24 Letter; A. Roberts 8/8/24
Letter. Allergan will produce any responsive, non-privileged documents located by these
searches.


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In light of the above, to the extent that Revance believes that Allergan has not already produced
documents responsive to the Category 3 documents addressed in the Court’s order, or that such
responsive documents would not be captured by the above searches, please explain what
documents or types of documents Revance believes are missing from Allergan’s productions
and/or searches. Please provide Revance’s position on this issue by noon ET on Friday,
September 27.


       Sincerely,

        /s/ Andrea Pallios Roberts
       PAUL HASTINGS LLP




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